                 Exhibit A




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STATE OF NORTH CAROLINA                 1IFILG5119AL
                                        1IFILG5119AL COURT
                                                     COURTOF
                                                           OF JUSTICE
                                                              JUSTICE
                                          SUPERIOR COURT
                                                   COURT DIVISION
GUILFORD COUNTY                          APR- LI-t4 PI9SYS
                                    2019APR
                                    2019            PI92CYS   ('' 1
                                                              (''1


                                    GLIMORC CO.,
                                                     •

                                    GLI:LFORC       sir •




AARON GOINS, ALICIA
              ALICIA ADAMS,
                     ADAMS,
AMADA ALCOCK, AMANDA GROOMS,       EY
                                   EY
ANDREA SELLS, ANDREW JOHNSON,
ANESHA MCGLOCKTON, ANGELO
CUMMINGS, ANNA SHAW, ANNETTE                       COMPLAINT
RIDGEWAY,
RIDGE WAY,ANTHONY
           ANTHONY AMES,
ANTHONY ROSADO, ANTHONY
STURDIVANT, ANTOINETTE JACKSON,
APRIL ALLEN, AREEBA LILES, AVI
WILLIAMS, BENJAMIN WHERRY,
      MAKARIMI, BRADLEY
BETTY MAICARIMI,  BRADLEY
CALDWELL,
CALD WELL, BRIDGET
           BRIDGET CLARK, BRIELLE
COWAN, BRITTANY CALLAHAN,
BRITTANY MASON, BRITTANY
WILLIAMS, BRITTNEY OLIPHANT,
CANDICE PERKINS, CAROLYN
          CARRIE EDWARDS,
WALLACE, CARRIE   EDWARDS,
CASANDRA   MILLER, CASSANDRA
CASANDRA MILLER,   CASSANDRA
BROOKS, CASSANDRA GAINES, CEDRIC
MOSES, CHARITA O'NEAL, CHARLENE
HARRIS, CHARMAINE REID,
CHARMAINE WILSON, CHERICIA
      WORTH, CHIMAOBI
STALLWORTH,
STALL
MADUBUIKE, CHRISTINA SMITH,
             BASS, COREY
CHRISTOPHER BASS,
CHRISTOPHER
MCDUFFIE, CRYSTAL OWENS,
          CRYSTAL   OWENS,
                CURTIS BOYD,
         RORIE, CURTIS
CRYSTAL RORIE,         BOYD, CYNIA
ANDERSON, DAPHNE CARPENTER,
DARLENE WATSON, DAVEDA HINES,
DAVID ELLISON, DAVID GILLUM,
DAVID REYNOLDS, DAVIE DAWKINS,
DAVIE RICHARDSON, DAWN GRAY,
DAWN HOUSETON, DEPRIES
    WOOD, DEREK COLE, DERRICK
HAYWOOD,
HAY
                JEFFERY, DESMOND
GREEN, DESIREE JEFFERY,  DESMOND
                    DIMITRI SHAW,
SMITH, DIANA SMITH, DIMITRI
DION LUKER, DOMAUNIA CLARK,
DOMINICK HINSON, DOMINIQUE
HARRIS, DONTA
HARRIS,        SYKES, DONZA SLADE
        DONTA SYKES,




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DOROTHY RANSOM, DOUGLAS
DOROTHY
MCKOY, DWAYNE COCKERHAM, EDNA
TAYLOR, EDWARD WILSON, ELAINE T.
JOHNSON, ELLA MANNS, ERICA
TURNER, ETHEL JENKINS, FRANCES
GADDY,
GADDY, FRANCIS
        FRANCIS HOPKINS, FRANK
QUICK, GARY MALLOY, GLENDA
GIBSON, GLORIA CALHOUN, GLORIA
HARDY, GREGORY NICHOLSON,
GREGORY SLOAN, HAZEL GILLIUM,
                HOWARD J. WELCH,
HOLLY BOSTIC, HOWARD
INDIA LEAK, JADA EASTERLING,
JAMES BRADSHAW, LINDA BRADSHAW
JAMES JACKSON, JAMES WILSON, JR.,
           SINGLETON, JAN LYNCH,
JAMORRIS SINGLETON,
JARRAD  COXE,JASMINE
JARRAD COXE,           MAYHAM,
               JASMINEMAYHAIV1,
JASON LANE, JASON TILLEY, JAVON
MACK, JEANETTE MORGAN, JEFF
BLACK
BLACKWELL,    JENELLE TOLER,
       WELL, JENELLE  TOLER, JENNIE
JONES GREEN, JENNIFER HICKS,
JENNIFER SERGEANT, JENNIFER
TAYLOR, JEREMY
         JEREMY BRADSHAW,
                  BRADSHAW,
JERMALE KEYS, JESSICA STEWART,
JERMALE
JFFFREY  HANKINS, JOCELYN
JFFFREY HANKINS,   JOCELYN STINSON,
                            STINSON,
JOHN JOHNSON, JOHNNY HARDISON,
JOHN
JONATHAN BENNETT, JONATHAN
          JOSEPH DIXON,
SHIPMAN, JOSEPH          JOZELLE
                  DIXON, JOZELLE
GARBER, KAJUANE RORIE, KALISA
JOHNSON, KATHERINE GARCIA,
KATHERINE MCDONALD,
KATHERINE    MCDONALD, KATHY
BRATTON-HARBISON, KATRINA
CAMPBELL, KELLY EDWARDS, KELLY
WALL, KEVIN HORTON, KEVIN LEMAR
SMITH, KIESHA LEARY, KIMBERELY
MORROW, KRYSAL MCCREE,
LATEESHA REDD, LAQUITTA OUTLAW,
LAKEESHA
          BURNS, LASHAURA HUDSON,
LASHALL BURNS,
LASHALL
LASHONDA RICHARDS, LATEESHA
MUNGIN, LATISHA HAIRE, LATONIA
BOYD, LATONYA HILDERBRAND,
        GRIMSLEY, LAWANDA
LAUREN GRIMSLEY,
       LEKITTA ROBINSON, LENNIE
LEARY, LEKITTA
MOORE, LESLIE FONVILLE, LESLIE
MCSWAIN, LETITA FRONE (MILLER),
LETITIA GRANT,
LETITIA GRANT, LINDA HEDRICK,
         CURRIE, LINITA
LINDSAY CURRIE,   UNITA BLAKENEY,




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LINQUEAL ROUNDS, LISA LEWIS,
         WHITE, LUCY ROGERS,
LORAINE WHITE,
MACEOTURNER,
MACE°  TURNER, MARCUS   SPELLMAN,
                MARCUS SPELLMAN,
MARGIE WEAVIL, MARIA CELESTE
GAUSE, MARILYN
GAUSE, MARILYN BLACK
                 BLACKWELL,
                       WELL,
MARILYN DOSS, MARLON BROWN;
MARQUITA TAYLOR, MARSHA LEATH,
MARSHELL BOYKIN, MARTHA
CALDWELL,
CALD WELL, MARVA
            MARVA PRICE, MARY
MCBRIDE, MARY WOOD, MELISSA
HOLDER, MELISSAH SCALES, MERICA
         MICHAEL FORESTER, JR.,
NELSON, MICHAEL
MICHAEL JENKINS, MICHAEL JONES,
MICHAEL KEE, MICHELLE KEELING,
MONICA ALEXANDER, NAIMAH JONES,
NATASHA DAVIS, NEKA SWANN,
       ICNOTTS,NICOLE
NELLIE KNOTTS,  NICOLE THOMAS,
                       THOMAS,
PAMELA BULLS, PAMELA MCINNIS,
PAMELA WORTHY, PATRICK CANTY,
                          CANTY,
PAULETTE SHANNON,
PAULETTE  SHANNON, PERRY BOSTIC,
                     PHILLIP
PERRY CUTHRELL, JR., PHILLIP
        PHILLIP GREEN, PRINCE
BROWN, PHILLIP
CHISHOLM, PRINCE TROLLINGER,
PRISCILLA YOUNGER, RACHEL
PRISCILLA
         RALPH CHILDRESS,
ROLLINS, RALPH  CHILDRESS, RANDY
                           RANDY
                PETTIFORD, RAVEN
TERRY, RASHAD PETTIFORD,
WILMAR HOOKER, RAYFORD KIMBLE,
        SMITH, REGINALD
REGGIE SMITH,
REGGIE         REGINALD BROWN,
REMEKA BRYANT, RICHARD DELAIN,
      ADAMS, RITA CERNA, ROBERT
RICKY ADAMS,
GONZALES, ROBERT TILLMAN,
RODNEY COBIA, RODNEY
EASTERLING, RODNEY HICKMAN,
ROGER  HAMLETT, ROMAN
ROGER HAMLETT,    ROMAN WATROUS,
                  SAMANTHA ALLEN,
SABRINA ELLIOTT, SAMANTHA
SAMANTHA MOUZON, SANDELL
             SANDRA CARMON,
BLACKWELL, SANDRA
BLACKWELL,
SANDRA DARRISAW, SARAH
DOUGLAS, SHAMICA WALL, SHANNON
THOMAS, SHELDON JOHNSON,
SHENITA MELTON, SHONDA JONES,
STANLEY EWINGS, STEPHANIE JONES,
TAHEIM RAGLAND, TAKEALLA
TAHEIM
ROBINSON, TALISHA LOWERY
TAMARA DAVIS, TAMECIA MCKINNON,




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  TARI HARRIS, TEALA TANTON,
  TAR!
  DAMION JOHNSON, TERESA DIXON,
  TERESKA CHRISP,
  TERESICA CHRISP,TERRAYA
                   TERRAYA ROYSTER,
  TERRY COE, TEWLEE BOONE, TIFFANY
  MATTHEWS, TIKEISH MCNEILL,
         WHITE, TONY
  TOMMY WHITE,   TONY FUNDERBURK,
  TONYA WOODS, TRESHAUN WARREN,
  VALERIE MCLAUGHLIN, VINCENT
  HAIRSTON, WALTER
            WALTER MACKEY,
                     MACKEY, WANDA
                             WANDA
         WANDA MCKOY,
  EVANS, WANDA   MCKOY, WAYTERIA
  THOMAS, WHITLEY TEASTER,
  WILLIAM BUNCH,
  WILLIAM  BUNCH, WILLIAM GIBSON,
  WILLIAM PEARSALL, WILLIE
  BRADFIELD, WILLIE THOMAS, WILLIE
                            WILLIE
           WILLIE WILKERSON
  WARREN, WILLIE



                  Plaintiffs,

         V.
         v.

  TITLEMAX OF VIRGINIA, INC.,
  TITLEMAX OF SOUTH CAROLINA, INC.,
  TMX FINANCE OF VIRGINIA, INC.


                 Defendants.


       Plaintiffs complaining of Defendants, and
                                             and allege
                                                 allege and
                                                        and state
                                                            stateas
                                                                  as follows:
                                                                      follows:
        1.Plaintiffs
        1.Plaintiffs are each North
                     are each North Carolina
                                     Carolinaresidents
                                              residentswho
                                                        whoentered
                                                              enteredinto   one or
                                                                       intoone   or more
                                                                                    more title
                                                                                           title loan
transaction(s) with
transaction(s) withone
                     one or
                         ormore
                            moreof
                                 ofthe
                                    theDefendants.
                                       Defendants. At least some of
                                                                  of the Plaintiffs are citizens and
residents of Guilford County, North Carolina.
       2. Defendants
           Defendants are
                       are related
                            related title
                                     title loan lenders. Defendants
                                           loan lenders.  Defendants are
                                                                      are foreign
                                                                           foreigncorporations
                                                                                   corporations that
                                                                                                that
regularly transact business
          transact business in North  Carolina.
       3.Defendants,
       3.Defendants, upon information and belief, are foreign corporations
                                                                  corporations organized
                                                                                organized and
                                                                                            and existing
                                                                                                existing
 under the
 under  the laws
             laws of          other than
                   of a state other than North
                                         NorthCarolina.
                                                Carolina. At               relevant to the events and
                                                            At all times relevant
 transactions alleged
 transactions  alleged herein,
                       herein, Defendants
                               Defendants unlawfully
                                           unlawfully engaged
                                                       engaged inin the
                                                                    the automobile
                                                                        automobile title
                                                                                    title loan
                                                                                          loan business
    North Carolina.
 in North               Defendants have
           Carolina. Defendants      have not
                                          not registered
                                              registeredtotododo business
                                                                  businessinin with
                                                                               with the
                                                                                     the Office
                                                                                          Office of
                                                                                                  of the
 Secretary of
 Secretary  of State
                State of North
                          North Carolina
                                 Carolina despite
                                           despite the
                                                   the fact that they
                                                       fact that   they are
                                                                        are doing business in North
                                                                                                  North
 Carolina.




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       4. This Court
                Court has jurisdiction
                             jurisdictionover
                                           over Defendants
                                                 Defendants pursuant
                                                                pursuanttotoN.C.G.S.
                                                                               N.C.G.S.§1-75.4
                                                                                          §I-75.4 in that
                                                                                                       that at all
times relevant to the events and transactions
                                      transactionsalleged
                                                     alleged herein,
                                                               herein, Defendants,
                                                                       Defendants, viavia the
                                                                                          the Internet,
                                                                                                intemet, cellular
telephone and/or
telephone   and/or other
                     other media and  and communication
                                            communication methods
                                                                methods solicited,
                                                                           solicited, marketed,
                                                                                       marketed, advertised,
                                                                                                      advertised,
offered, accepted,
          accepted, discussed, negotiated,
                                     negotiated, facilitated,
                                                  facilitated, collected on, threatened
                                                                                 threatened enforcement
                                                                                               enforcement of,
and/or foreclosed
        foreclosed upon automobile title loans with Plaintiffs
                                                            Plaintiffs and other North Carolina
                                                                                           Carolina citizens
                                                                                                       citizens in
violation of the North
violation          North Carolina
                            CarolinaConsumer
                                        ConsumerFinance
                                                     FinanceAct, Act,N.C.G.S.
                                                                      N.C.G.S.§53-164,
                                                                                  §53-164,etetseq.seq. Plaintiffs
                                                                                                        Plaintiffs
further allege
further  allege that,
                 that, for
                       for aa considerable
                              considerable amount
                                              amount of of time prior
                                                                 prior to
                                                                        to the events and transactions
                                                                                              transactions with
Plaintiffs as alleged herein, Defendants had regular,
                                                   regular,ongoing,
                                                              ongoing, continuous
                                                                         continuous and
                                                                                      and systematic
                                                                                            systematic contacts
                                                                                                         contacts
                of North Carolina, Guilford County, and
with the state of                                             and counties throughout
                                                                             throughout thethe Middle District
of North Carolina and
of                   and its
                           its citizens
                               citizens and
                                         and has conducted
                                                 conducted business
                                                               business in this state in that
                                                                                           that Defendants
                                                                                                 Defendants viavia
     Internet, cellular
the Internet,              telephone and/or
                cellular telephone      and/or other     media and communication
                                                other media            communication methodsmethods solicited,
marketed, advertised,
marketed,    advertised,offered,
                              offered, accepted,
                                         accepted, discussed,
                                                     discussed, negotiated,
                                                                   negotiated, facilitated,
                                                                                   facilitated, collected
                                                                                                   collected on,
threatened enforcement
threatened    enforcementofofand   and foreclosed
                                        foreclosed upon
                                                    upon automobile
                                                             automobile title
                                                                           title loans with North       Carolina
                                                                                                 North Carolina
citizens in violation ofof the
                            the North    Carolina Consumer
                                  North Carolina    ConsumerFinance
                                                                  FinanceAct,Act,N.C.G.S.
                                                                                   N.C.G.S.§53-164,
                                                                                               §53-164, etet seq.,
such that this Court
                Court has
                        has personal
                             personaljurisdiction
                                        jurisdictionover
                                                      overDefendants
                                                             Defendantspursuant
                                                                          pursuanttotoN.C.G.S.
                                                                                        N.C.G.S.§1-75.4.
                                                                                                     §1-75.4.
       5. Venue is
                 is appropriate
                    appropriate in
                                in this judicial
                                        judicial district
                                                 district pursuant
                                                          pursuanttotoNCGS
                                                                        NCGS 1-80
                                                                               1-80 because, among
other reasons,
      reasons, the  Defendants regularly              carrying on
                               regularly engages in carrying on business Guilford County, the
                                          engages  in              business in
Middle District of North Carolina and
                                    and some
                                         some of the Plaintiffs are residents of
                                                                              of Guilford County.

        Defendants, at
     6. Defendants,   at all
                         all times relevant  hereto, were
                                    relevant hereto,  were and
                                                           and remain
                                                                 remain in  the business
                                                                         in the business of making
                                                                                              making
consumer
consumercar    title loans   to residents of  North   Carolina.   This series   of transactions
           car title loans to residents of North Carolina. This series of transactions and         and
occurrences along
            along with the common legal issueissue of
                                                   ofsending
                                                      sendingthe
                                                               thematter
                                                                   matter to  individual arbitrations
                                                                           toindividual   arbitrations
make Permissive Joinder proper pursuant to Rule 20 of the North Carolina Rules of
make  Permissive   Joinder   proper  pursuant  to Rule  20 of  the North   Carolina  Rules    of Civil
Procedure.
      7.A list
           list of
                of each
                   each of
                        ofthe
                           the plaintiffs
                               plaintiffs in
                                           in this        was provided
                                              this action was  provided more than thirty    (30) days ago.
                                                                                    thirty(30)
While defendants
       defendants    acknowledge
                     acknowledge   they   know    of each plaintiff's existence
                                                                      existence and
                                                                                and have
                                                                                    have   their
                                                                                          their  contracts
with the respective defendant, they refuse to turn turn over the documents.
                      plaintiffs do not
      8.Many of the plaintiffs      not have    their contract documents for a number
                                         have their                                  number ofof reasons—
          them being
including them  being in
                       in the
                          the glove compartments
                                    compartmentsof         cars hauled
                                                       of cars           awayby
                                                                hauledaway     byTitleMax.
                                                                                    TitleMax. Without the
documents or cooperation from     TitleMax, many of
                            from TitleMax,            of the plaintiffs
                                                             plaintiffs cannot   identify which defendant
                                                                        cannot identify
they entered into a contract
                    contract but
                              butonly   thatititwas
                                  only that     wasTitleMax
                                                     TitleMax making
                                                                 makingfiling
                                                                          filing in
                                                                                 in this form
                                                                                         form necessary.
      9.Further,
      9.Further,TitleMax
                   TitleMaxrefuses
                               refusestoto unconditionally
                                           unconditionallyenter     intoaa tolling
                                                             enterinto      tolling agreement
                                                                                    agreement of    of any
applicable Statute of Limitation forcing the undersigned to take court
                                                                    court time
                                                                           time and
                                                                                 and resources   byfiling
                                                                                      resources by    filing
this mass action to seek  to have
                    seek to  have the
                                  the matters ordered to arbitration  andtotoprotect
                                                         arbitrationand       protecthis
                                                                                       hisclients'
                                                                                           clients' claims
                                                                                                    claims
      the statutes
under the
under      statutesof  limitations applicable
                    of limitations applicable to
                                              to each
                                                 each claim.
       10.
       10. Plaintiffs
           Plaintiffs are   informed and
                       are informed    and believe,     and therefore
                                              believe, and   therefore allege,
                                                                        allege, that
                                                                                 that Defendants  have
                                                                                      Defendants have
knowingly and intentionally engineered interne
knowingly                                    intemet and
                                                      and other advertising to ensure that
                                                                                       that Defendants'
                                                                                            Defendants'
out of       office locations
    of state office            appear into
                     locationsappear   into intemet
                                             intemet search   results and other when a North Carolina
                                                      search results
consumer conducts        Internet search
           conducts an intemet    search for             loan" or terms similar thereto.
                                          for "car title loan"
       11.
       11. Upon information
                information and
                              and belief,
                                  belief, at all times relevant                         regularly
                                                       relevant hereto, Defendants have regularly
          customers  in North Carolina.
solicited customers in North Carolina.




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      12.
      12. Upon information and belief, at all times relevant hereto, Defendants regularly entered
into North
     North Carolina
           Carolinato
                    totake
                       takepossession
                            possession of
                                       of motor
                                          motor vehicles.
                                                 vehicles.

       13.
       13. Upon information
                 information andand belief,
                                    belief, at all times relevant
                                                         relevant hereto, Defendants have registered
                                                                                          registered
to assert motor
          motor vehicle       hens with the North Carolina
                vehicle title liens                  Carolina DMV,
                                                              DMV, and has numerous liens on North
Carolina owned and
                 and titled motor
                             motor vehicles.
                                    vehicles.

      14. Upon information
      14. Upon   information and
                              and belief, whenwhen North
                                                    North Carolina
                                                            Carolina consumers
                                                                      consumers conduct
                                                                                 conduct internet
                                                                                            internet
searches using the search terms "car  title loans"
                                "car title  loans"or
                                                   orsimilar
                                                      similarsearch
                                                              searchterms,
                                                                     terms,Defendants'
                                                                            Defendants' out
                                                                                        out of
                                                                                             of state
          appear as
locations appear  as prominent
                     prominent search
                                search results,
                                         results, which
                                                  which results
                                                         results were
                                                                 were intended
                                                                      intended by Defendants and
engineered by Defendants to occur.

      15. Defendants have business locations located just over the North Carolina
      15.                                                                  Carolina state
                                                                                       state line for
                                                                                                  for
the purpose of entering into loan transactions
                                  transactions with North Carolina
                                               with North Carolina residents
                                                                    residents in
                                                                               in an
                                                                                  an effort
                                                                                     effort to
                                                                                             to avoid
                                                                                                avoid
                of North Carolina law.
the application of
      16.                                                    transactions with
      16. Each Plaintiff entered into one or title more loan transactions with Defendants.
                                                                               Defendants.

      17. Each
      17. Each Plaintiff
                Plaintiff went
                          went to  Defendants' out
                                to Defendants'      out of state office,
                                                        of state          and met
                                                                 office, and   met Defendants'
                                                                                      Defendants'
representative who
representative who presented them with
                   presented them       the loan
                                  with the   loan documents,
                                                  documents, obtained
                                                             obtained Plaintiff's
                                                                      Plaintiff's signature on
                                                                                             on the
                and exchanged
loan documents and             Defendants' loan check for Plaintiffs' North Carolina car titles.
                    exchanged Defendants'                                                   titles.
                                                             should have known that
      18. At all times relevant hereto, Defendants knew or should
      18.                                                                        that each
                                                                                       each Plaintiff
                                                                                            Plaintiff
was a North Carolina resident   and held
                       resident and         North Carolina
                                    held aa North Carolinatitle
                                                           titleon
                                                                on his or her
                                                                   his or her vehicle.
                                                                              vehicle.
      19. Upon information
      19. Upon                and belief,
                information and           Defendants intentionally
                                  belief, Defendants   intentionally and  regularly accept
                                                                     and regularly              loan
                                                                                      accept loan
          from North
payments from         Carolinaconsumers
               North Carolina   consumerswhile    thoseconsumers
                                            whilethose  consumersarearephysically
                                                                        physically in
                                                                                    in the
                                                                                        the state
                                                                                            state of
                                                                                                   of
                                        card payments,
      Carolina by mail, telephone debit card
North Carolina                                           online payments by Western
                                             payments, online                Western Union and
by payment through the TitleMax smart phone application.

      20. Upon information and                                      and intentionally,
                                      belief, Defendants regularly and
                                 and belief,                              intentionally, and  in connection
                                                                                         and in  connection
     car title
with car        loans of
          title loans  of the  type and
                          the type  and kind
                                         kindalleged   herein,solicit,
                                               allegedherein,           discuss, negotiate, offer, receive,
                                                               solicit, discuss, negotiate,  offer,
accept, and deliver
accept, and    deliver and
                        and accept    funds, with
                              accept funds,         North Carolina
                                               with North              consumersatataa time
                                                           Carolina consumers             time when
                                                                                                when those
consumers are
consumers     are physically
                   physically in   the state
                                in the        of North
                                       state of        Carolina.    Plaintiffs  are further  informed
                                                 North Carolina. Plaintiffs are further informed and    and
believe, and therefore                that Defendants
                 therefore alleges, that                regularly and
                                           Defendants regularly           intentionally take
                                                                   and intentionally                    and
                                                                                         take actions and
measures to enforce those loans in      North   Carolina, including  repossession   and  sales
                                                Carolina, including repossession and sales     of collateral
automobiles owned by   by North Carolina consumers.
                             said loans by aa placing lien on each Plaintiff's vehicle
     21. Defendants secured said                                               vehicle through
                                                                                       through the
North Carolina Department of Motor   Vehicles.
      Carolina Department of Motor Vehicles.
       22. Defendants     solicitedeach
           Defendantssolicited       each Plaintiff    for the
                                            Plaintiff for  the loans   alleged herein,
                                                                 loans alleged          discussed and
                                                                                herein, discussed    and
negotiated loans, offered to make each Plaintiff that
                                                    that loan   andreceived
                                                          loanand            eachPlaintiff's
                                                                    receivedeach  Plaintiff's acceptance
                                                                                              acceptance
                       at aa time
       loan offers all at
to its loan                        while each
                              time while       Plaintiff was
                                          each Plaintiff  was aaNorth
                                                                  North Carolina resident and
                                                                        Carolina resident       owned a
                                                                                           and owned
         with aa North Carolina title.
vehicle with
                                hereto, each
      23. At all times relevant hereto,       Plaintiff's vehicle was
                                        each Plaintiffs               registered in the state of North
                                                                  was registered
Carolina, garaged in
Carolina, garaged      North Carolina
                    in North Carolinaand     boreaaNorth
                                        andbore             Carolinalicense
                                                    NorthCarolina      licenseplate,
                                                                               plate,all  of which
                                                                                      allof  which was
known to Defendants at the time ofof the transactions alleged   herein.




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       24. The loan transaction(s) at issue are subject to North Carolina
                                                                 Carolina law.
                                                                          law.
                             FIRST CLAIM FOR RELIEF
                                                  RELIEF
 (Violations of
             of the North Carolina Consumer Finance
                                             Finance Act, N.C.G.S.
                                                          N.C.G.S. §53-165,
                                                                   §53-165, et
                                                                            et seq.
                                                                               seq. for
                          underlying claims —
                                            — All
                                              All Defendants)
                                                  Defendants)

       25. Plaintiffs reallege the allegations contained above.
       26. The annual
               annual interest
                        interest rate
                                  rate that
                                        thatDefendants
                                              Defendantshavehavecharged
                                                                  chargedeacheach Plaintiff
                                                                                   Plaintiff far
                                                                                              far exceeds
                                                                                                  exceeds the
maximum annual raterateof
                        of interest
                            interestallowed
                                     allowed byby the
                                                   theNorth
                                                       NorthCarolina
                                                               CarolinaConsumer
                                                                          ConsumerFinance
                                                                                      FinanceAct,
                                                                                                Act,N.C.G.S.
                                                                                                     N.C.G.S.
§53-176, on a consumer
                consumer loan     in the  amount     loaned  by  Defendants.
                             loan in the amount loaned by Defendants. N.C.G.S.    N.C.G.S.   §53-190   makes
unenforceable any
unenforceable   any loan
                     loan contracts
                           contracts made
                                       madeoutside
                                               outsideofof the
                                                           the state
                                                               state of
                                                                      of North
                                                                         North Carolina
                                                                                  Carolina in
                                                                                            in the
                                                                                               the amount
                                                                                                    amount of
                                                                                                            of
fifteen thousand dollars
                 dollars ($15,000.00)
                          ($15,000.00) or or less
                                             lessfor
                                                  for which
                                                       whichgreater
                                                              greater consideration or charges than thosethose
authorized
authorizedby    N.C.G.S. §53-173
             byN.C.G.S.     §53-173 and
                                      and N.C.G.S. §53-176 have           been charged,
                                                                   have been     charged, contracted
                                                                                          contracted forfor or
                                                                                                            or
received unless all of
received             of the
                         the contractual
                              contractual activities, including solicitation,
                                                                     solicitation, discussion, negotiation,
                                                                                                  negotiation,
offer, acceptance, signing ofof documents, and delivery and receipt
                                                                  receipt ofof funds, occur entirely
                                                                                             entirely outside
                                                                                                      outside
the state of North Carolina.
         With regard
     27. With   regardto
                       toeach
                          each loan      issue,Defendants
                                loanatatissue,   Defendants have
                                                             have engaged
                                                                   engaged in
                                                                            in one
                                                                               one or more of
                                                                                   or more of the acts
enumerated in
enumerated     N.C.G.S. §53-190(a)
            in N.C.G.S.  §53-190(a) and        therefore subject to North Carolina law.
                                     and isis therefore
        28. Defendants come  into North Carolina to
                        come into                     solicit or otherwise
                                                   to solicit    otherwise conduct activities    regard
                                                                                   activities in regard
            contracts, and are therefore
       loan contracts,
to its loan                    therefore subject  to North
                                         subject to  North Carolina
                                                              Carolinalaw   pursuanttotoN.C.G.S.
                                                                       lawpursuant       N.C.G.S. §53-
                                                                                                   §53-
190(b).
       29. The acts and
                    and conduct    of Defendants
                          conduct of  Defendants in in soliciting
                                                       soliciting Plaintiffs for the
                                                                                 the loans alleged
                                                                                           alleged herein,
and charging them
               them an
                     an annual
                         annual interest  rateininexcess
                                 interestrate      excess of the lawful maximum on that loan are clear
                                                          of the                                      clear
violations of
violations    the North Carolina Consumer
           ofthe                                Finance  Act  that subject Defendants
                                                              that subject Defendants   to penalties under
                                                                                                     under
           §53-166(d), including
N.C.G.S. §53-166(d),                without limitation
                         including without                that Defendants
                                              limitation that  Defendantsshall
                                                                             shall not
                                                                                   not collect,
                                                                                       collect, receive, or
                                                                                                         or
retain any
retain any principal      charges whatsoever
                      orcharges
            principal or           whatsoever with
                                                 with respect
                                                      respect to the loan.
            Each Plaintiff
       30. Each  Plaintiff has
                           has been  damaged by
                               been damaged    by Defendants'  violations of the
                                                  Defendants' violations        the North
                                                                                    North Carolina
                                                                                          Carolina
                                                                            but which amount is at
                                 herein in an amount to be proven at trial, but
Consumer Finance Act alleged herein
least the
      the sum  of $10,000.00.
           sumof  $10,000.00.
                                 SECOND CLAIM FOR RELIEF  RELIEF
                    of N.C.G.S. §24-1.1 et
        (Violations of                                Defendants) (claim
                                           seq. — All Defendants)
                                        et seq.                    (claim in  the alternative)
                                                                           in the alternative)
       31. Plaintiffs reallege the allegations contained above.

      32. The
           The annual               rate Defendants
                         interest rate
                 annual interest         Defendants have  chargedeach
                                                     have charged  each Plaintiff
                                                                        Plaintiff far
                                                                                  far exceeds
                                                                                       exceeds the
maximum annual rate rateof
                        of interest  allowed by
                           interestallowed   by the NorthCarolina
                                                theNorth          ConsumerFinance
                                                         CarolinaConsumer             Act,N.C.G.S.
                                                                            FinanceAct,   N.C.G.S.
  24-1.1, on
§ 24-1.1,       consumer loan
          on aa consumer   loan in  the amount loaned by Defendants.
                                 in the
       33. The loans alleged herein are additionally governed by Chapter 24    24 of the North Carolina
          Statutes pursuant
General Statutes                N.C.Gen.
                   pursuanttotoN.C.  Gen.Stat.
                                           Stat.§§24-2.1.                 reasons, Defendants
                                                                    other reasons,
                                                   24-2.1. Among other             Defendants engaged
                                                                                               engaged
                               oral offer to lend that was received in North Carolina,
in solicitations and made an oral                                                           Defendants
                                                    Plaintiffs that
                          communications from Plaintiffs
received solicitations or communications                        that originated within North Carolina
for Plaintiffs to borrow.




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      34. N.C. Gen. Stat.
                      Stat. § 24-2.1(g)
                               24-2.1 (g)provides:
                                            provides:"It
                                                      "It isisthe
                                                                theparamount
                                                                    paramount public
                                                                                  public policy of
                                                                                                 of North
                                                                                                    North
Carolina to protect North
                    North Carolina
                           Carolina resident
                                      resident borrowers
                                               borrowers through
                                                            through the
                                                                      the application
                                                                           application of
                                                                                        of North Carolina
interest laws. Any provision of
                              of this
                                 this section
                                      section which
                                              whichacts
                                                     actstotointerfere
                                                               interfere in
                                                                          in the
                                                                             the attainment of
                                                                                            of that public
policy shall be of no effect."

       35. The acts and
                     and conducts
                         conducts ofof Defendants in  in soliciting
                                                         soliciting Plaintiffs for the loans alleged herein,
discussing and
discussing   and negotiating
                 negotiating such
                                such loans,
                                      loans, offering
                                              offering to    make Plaintiffs
                                                          to make    Plaintiffs such
                                                                                  such loans
                                                                                       loans and
                                                                                              and receiving
                                                                                                   receiving
Plaintiffs' acceptance to its loan offer, all at
                                              at aa time
                                                     time while
                                                           while Plaintiffs were
                                                                              were physically in the state
                                                                                                     state of
                                                                                                           of
North Carolina, and then charging her an annual
                                              annual interest raterate of
                                                                       of more than
                                                                                 than 200% on that loan are
clear violations of
                 of the North Carolina Consumer Finance Act that       that subject
                                                                             subject Defendants
                                                                                     Defendants to penalties
under N.C.G.S.
under             §24-1.1, et seq..
       N.C.G.S. §24-1.1,
       36. In
           In addition
              addition oror in alternative
                                  alternative to
                                              to the
                                                  the penalties set forth in Chapter
                                                                                Chapter 53 and Chapter
                                                                                                 Chapter 75,
                                                                                                          75,
Defendants are
             are subject
                  subject to to the
                                 thepenalties
                                     penaltiesset
                                               set forth
                                                    forthininN.C.G.S.
                                                              N.C.G.S. §24-2,
                                                                         §24-2, including without limitation,
repayment of
repayment    of twice the amount of interest paid   paid on the unlawful loan, foregiveness
                                                                                   foregiveness of
                                                                                                ofpurported
                                                                                                   purported
           returnof
debt, and return   of the
                       the title
                            title unencumbered
                                   unencumberedtitletitleto
                                                          toPlaintiffs'
                                                             Plaintiffs' vehicle.
                                                                         vehicle.

       37. Plaintiffs have been damaged by Defendants' violations
                                                          violations of
                                                                     ofthe
                                                                        the North
                                                                             North Carolina General
Statutes Chapter
          Chapter2424 as  alleged herein in an amount to be proven at trial,
                       as alleged                                      trial, but
                                                                              but which
                                                                                  which amount
                                                                                        amount is at
least the sum
          sum of $10,000.00
               of $10,000.00   each.
                              THIRD CLAIM FOR RELIEF
          (Violations of N.C.G.S. §75-1.1 for underlying claims —
                                                                — All Defendants)

       38. Plaintiffs reallege the allegations contained above.

       39. The acts and conduct of Defendants alleged hereinherein constitute acts and conduct in and
          commerce
affecting commerce
affecting              and Defendants'   intentional, knowing, and purposeful violations of
                                                      knowing,                               of the North
Carolina Consumer
          Consumer Finance     Act, including
                       Finance Act,  including without
                                                without limitation
                                                         limitation Defendants'
                                                                    Defendants' failure to disclose that
the loan was unlawful, constitute unfair and     deceptive trade practices
                                            and deceptive                   within the
                                                                  practices within  the meaning of of both
N.C.G.S.
N.C.G.S. § 53-180(g)           N.C.G.S. §§75-1.1
                          and N.C.G.S.
              53-180(g) and                  75-1.1that
                                                      thatare
                                                           aresubstantially
                                                                substantially injurious
                                                                               injurious to
                                                                                          to consumers,
                                                                                              consumers,
including  Plaintiffs.
      40. Each Plaintiff has been damaged by
                             been damaged   by the Defendants' violations of
                                                                           of the
                                                                               the North
                                                                                    North Carolina
                                                                                             Carolina
Consumer Finance
           Finance Act
                   Act an
                        an amount
                           amount to  be proven
                                   to be proven at   trial, but
                                                 at trial,  butwhich amountisis at
                                                                whichamount     at least
                                                                                    least the   sum of
                                                                                           the sum  of
$10,000.00.
      41. The acts and omissions     Defendantsalleged
                                  ofDefendants
                        omissions of                      hereinare
                                                  allegedherein  arepart
                                                                     part of
                                                                          ofaapattern
                                                                              pattern and practice
of
of Defendants violating North
   Defendants violating        Carolina interest laws and the North Carolina Consumer Finance
                         North Carolina
Act.
       42. Each Plaintiff is entitled to an
                                         an award
                                            awardof
                                                  of treble damagespursuant
                                                      trebledamages pursuanttotoN.C.G.S.
                                                                                 N.C.G.S.§§ 75-1.1.
                                                                                            75-1.1.
         Each Plaintiff is entitled to recover
     43. Each                                      or her
                                       recover his or     reasonable attorneys'
                                                      her reasonable attorneys' fees
                                                                                fees pursuant
                                                                                     pursuant to
N.C.G.S. § 75-16.




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                               FOURTH CLAIM FOR RELIEF
                             (Punitive Damages — All Defendants)

       44. Plaintiffs reallege the allegations contained above.
       45. The acts of Defendants alleged herein constitute
                                                 constitute willful,
                                                            willful, wanton, and malicious conduct
 and cause intentional, purposeful, and unlawful detriment
                                                 detriment to
                                                            to Plaintiffs.
       46. Defendants are therefore
                           therefore liable
                                     liable to
                                             to each
                                                each Plaintiff for punitive damages in an amount
                                                                                          amount to
    proven at
 be proven at trial
              trialbut
                    butwhich
                       whichamount
                              amountisisatatleast
                                             leastthe
                                                   thesum
                                                       sumof
                                                           of$10,000.00.
                                                              $10,000.00.
                               FIFTH CLAIM FOR RELIEF
                      (Motion to Compel Arbitration — All Defendants)
       47. Plaintiffs reallege the allegations contained above.
                     agreements contain
       48. The loan agreements  contain at          arbitrationprovision
                                        at issue an arbitration provisionwhich
                                                                         whichcover
                                                                               cover all
                                                                                     all of
                                                                                         of the
 claims asserted herein.
       49. Each Plaintiff
                  Plaintiff prays unto the Court for any order staying this
                                                                       this matter
                                                                            matter and referring their
        to arbitration
 matter to
 matter    arbitrationpursuant       theAmerican
                        pursuanttotothe            ArbitrationAssociation
                                         AmericanArbitration   Association rules.
       WHEREFORE, Plaintiffs prays the
                                   the Court
                                       Courtfor
                                             forthe  following relief:
                                                 thefollowing

       I. That each Plaintiff shall have and recover of Defendants
       1.                                               Defendants all
                                                                   all statutory         incurred
                                                                       statutory damages incurred
and recoverable pursuant to N.C.G.S.   § 53-166(d)
    recoverable pursuant to N.C.G.S. § 53-166(d)   and  other damages  as provided
                                                              damages as provided  by law;

       2. That each Plaintiff shall have and recover of Defendants all statutory
                                                                       statutory damages incurred
 and recoverable pursuant
                 pursuant to   N.C.G.S. Chapter
                           toN.C.G.S.   Chapter2424 and
                                                    and other
                                                        otherdamages
                                                              damages as   provided by law;
                                                                        as provided

                    Plaintiff have and
               each Plaintiff
       3. That each                and recover of Defendants
                                       recover of Defendants treble damages
                                                                    damages pursuant
                                                                            pursuant to
                                                                                      toN.C.G.S.
                                                                                        N.C.G.S.
 § 75-1.1;
       4. That each Plaintiff have and recover ofof Defendants punitive damages in an amount to be
             butwhich
 determined, but
 determined,            amountisisatatleast
                  which amount         leastthe
                                             thesum
                                                 sumofof$10,000.00;
                                                         $10,000.00;
       5. That each Plaintiff
          That each Plaintiff have
                              have and
                                   and recover of Defendants
                                        recoverof Defendants interest andattorneys'
                                                             interest and attorneys' fees  as by
                                                                                      fees as by law
 provided;
           That the Court
        6. That     Court grant   each Plaintiffs'
                           granteach   Plaintiffs' motion                        matter to individual
                                                   motion to stay and refer this matter
 arbitrationsfor
 arbitrations   foreach  Plaintiff pursuant
                    each Plaintiff  pursuanttotothe   terms  of
                                                   the terms of the Agreement
                                                                    Agreement and and the   American
                                                                                       the American
 Arbitration Association.;
 Arbitration  Association.; and
       7. For such other and further relief as the Court may deem just and proper.
                             further relief




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            1'4
         LJ 1'
             4
 Thisthe
 This the jy day
             of April, 2019.
                 of April, 2019.


                                   Drew Brown
                                   Drew   Brown
                                   N.C. State
                                         State Bar No. 28450
                                                           28450
                                   James R. Faucher
                                               Faucher
                                         State Bar No. 31514
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